        Case
         Case2:11-cr-00188-RLH-CWH  Document 226-1
              2:11-cr-00188-RLH-CWH Document 227 Filed
                                                   Filed 06/03/15  Page11ofof11
                                                         06/02/15 Page



     ANGELA H. DOWS, ESQ.
 1   Nevada Bar No. 10339
     PREMIER LEGAL GROUP
 2   1333 North Buffalo Drive, Suite 210
     Las Vegas, Nevada 89128
 3   Telephone: (702) 794-4411
     Facsimile: (702) 794-4421
 4   adows@premierlegalgroup.com
     Attorney for Defendant
     ADMA FATA
 5
 6
                                UNITED STATES DISTRICT COURT
 7
                                    DISTRICT OF NEVADA
 8
                                            ***
 9   UNITED STATES OF AMERICA,                )
                                              ) 2:11-cr-00188-RLH-(CWH)
10                 Plaintiff,                 )
                                              )
11            v.                              )
                                              ) [PROPOSED] ORDER TO RELEASE
12   ADMA FATA,                               ) PASSPORT OF ADMA FATA
                                              )
13                 Defendant.                 )
                                              )
14
15         Based upon the Motion of Defendant ADMA FATA, and good cause appearing,

16   the Court hereby ORDERS as follows:
17
           The passport of ADMA FATA shall be released to ADMA FATA through her
18
     counsel, Angela H. Dows, Esq., at Premier Legal Group, 1333 N. Buffalo Drive, Suite
19
20   210, Las Vegas, Nevada 89128.

21         IT IS SO ORDERED.
22                 3
     Dated: June ________, 2015.             _________________________________
23                                           UNITED STATES DISTRICT JUDGE

24
25
26
